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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )
Christian Barroso,                            )       Case No. 1:13-cr-184
                                              )
               Defendant.                     )


       On May 15, 2014, defendant made his initial appearance in the above-entitled action and was

arraigned. AUSA Rick Volk appeared on the Government's behalf. AFPD William Schmidt

appeared on defendant's behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the North Dakota State Penitentiary ("NDSP") in Bismarck, North Dakota. After the superseding

indictment in this case was returned and an arrest warrant issued, a detainer was filed by the United

States with the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act

(“IADA”), defendant’s appearance before this court for his initial appearance and arraignment was

secured by a writ of habeas corpus ad prosequendum.

       During the hearing, defendant was advised of his rights under the IADA to continued federal

custody until the charges set forth in the indictment are adjudicated. Defendant knowingly,

voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the IADA and in

open court and agreed to his continued housing by the State of North Dakota (the “sending state”

under the IADA) at NDSP pending further proceedings in this case initiated by the United States

(the “receiving state” under the IADA). The United States did not object.

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       Accordingly, the court ORDERS that defendant be housed in the “sending state” under the

IADA at NDSP pending further proceedings or until further order of the court. Further, pursuant

to defendant’s waiver, the return of the defendant to his place of incarceration pending trial shall not

be grounds under the IADA for dismissal of the charges set forth in the indictment.

       Dated this 15th day of May, 2014.



                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




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